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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   JUSTIN ALLEN DAVEY,

 9                             Plaintiff,                 Case No. C21-05068-JCC-SKV

10          v.                                            ORDER GRANTING PLAINTIFF’S
                                                          MOTION FOR EXTENSION OF TIME
11   PIERCE COUNTY COUNCIL, et al.,

12                             Defendant.

13

14          This is a 42 U.S.C. § 1983 prisoner civil rights action. By order dated October 28, 2021,

15   the Court directed the parties to submit additional briefing with respect to Defendants’ motion to

16   dismiss. Dkt. 44. The Court directed Defendants to submit their supplemental brief in support

17   of their motion to dismiss by November 17, 2021, that Plaintiff may file a response to

18   Defendants’ supplemental brief by November 29, 2021, and that Defendants could file a reply by

19   December 3, 2021. Id. The Court also re-noted Defendants’ motion to dismiss to December 3,

20   2021. Id. Plaintiff now moves for an extension of time to January 24, 2021, to respond to

21   Defendants’ supplemental briefing. Dkt. 45.

22          In support of his motion, Plaintiff indicates that he is scheduled to be released from

23   Department of Corrections custody on November 27, 2021, and that his documents related to his



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 1   case are boxed up and he will not have access to them until after he is released. Dkt. 45.

 2   Plaintiff also indicates he believes he will require additional time to figure out the process for

 3   filing documents with the Court once he is released. Id. He further indicates that due to

 4   COVID-19 outbreaks and quarantine requirements at his facility he has been unable to access the

 5   law library sufficiently to perform legal research. Id. Defendants did not oppose or otherwise

 6   respond to Plaintiff’s motion. Id.

 7          Accordingly, it is hereby ORDERED:

 8      (1) Having shown good cause, Plaintiff’s motion for an extension of time to respond to

 9          Defendants’ supplemental briefing, Dkt. 45, is GRANTED.

10      (2) Plaintiff’s response to Defendants’ supplemental brief, Dkt. 47, is due by January 24,

11          2022.

12      (3) Defendants’ reply is due by January 28, 2022.

13      (4) The Clerk is directed to re-note Defendants’ motion to dismiss, Dkt. 33, to January 28,

14          2022.

15          The Clerk is directed to send copies of this order to the parties and to the Honorable John

16   C. Coughenour.

17          Dated this 23rd day of November, 2021.

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                                                            A
                                                            S. KATE VAUGHAN
21                                                          United States Magistrate Judge

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     ORDER GRANTING PLAINTIFF’S MOTION FOR
     EXTENSION OF TIME - 2
